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Presented to the Court by the foreman of the
Grand Jury in open Court, in the presence of
the Grand Jury and FILED in the US.
DISTRICT COURT at Seattle, Washington.

Auqust 3 79.7
LI . McCOOL, Clerk
By : Deputy

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON
AT SEATTLE

 

CR1'7°190 RSL

 

UNITED STATES OF AMERICA, ) CASE NO.

)

Plaintiff, ) INDICTMENT
)
V. )
)
RIBEIRO TRELHA GUSTAVO, )
a/k/a Matos Fontinele, )
Defendant.

The Grand Jury charges that:
COUNT 1

(Access Device Fraud)

On or about April 27, 2017, in King County, within the Western District of
Washington, defendant RIBEIRO TRELHA GUSTAVO knowingly, and with intent to
defraud, possessed at least fifteen or more unauthorized and counterfeit access devices as
defined in Title 18, United States Code, Section 1029(e), said possession affecting
interstate and foreign commerce because, among other things, some of the unauthorized
and counterfeit access devices related to accounts maintained by financial institutions

INDICTMENT / GUSTAVO - 1 : UNITED STATES ATTORNEY
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located outside Washington State, and some of those unauthorized and counterfeit
access devices traveled in interstate and foreign commerce.

All in violation of Title 18, United States Code, Sections 1029(a)(3) and 2.

COUNT 2
(Access Device Fraud)

~ On or about April 27, 2017, in King County, within the Western District of
Washington, defendant RIBEIRO TRELHA GUSTAVO knowingly and with
intent to defraud, possessed, produced, trafficked in, and had custody and control
of device-making equipment, specifically, a card-encoding device (also known as
a “reader/writer’”) and two credit card “skimmers,” which conduct affected
interstate and foreign commerce because, among other things, the devices were
used in connection with access devices related to accounts maintained by financial
institutions located outside Washington State.

All in violation of Title 18, United States Code, Sections 1029(a)(4) and 2.

ALLEGATIONS OF FORFEITURE

The allegations contained in Counts One and Two of this Indictment are realleged
and incorporated herein by reference or the purpose of forfeiture pursuant to Title 18,
United States Code, Section 1029(c)(1)(C).

Upon conviction of either Count One or Two of this Indictment, RIBEIRO
TRELHA GUSTAVO shall forfeit to the United States, any property, real or personal,
which constitutes or is derived from proceeds traceable to violations of Title 18, United
States Code, Sections 1029(a)(3) and (a)(4) or property used or intended to be used to
commit and to facilitate violations of Title 18, United States Code, Sections 1029(a)(3)
and (a)(4), including but not limited to the following:

a. A sum of money representing the proceeds obtained as a result of the charged

offenses.

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: 700 STEWART STREET, SUITE 5220

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Lenovo Laptop Computer, Serial #YD01VU2Y
My Passport Hard Drive, Serial #WX21A17E0OL4K;

My Passport Ultra Hard Drive, no serial number

My Passport Hard Drive, Serial #WXE1A17JNOXZ

Three (3) SanDisk SD memory cards, no serial numbers

Apple iPhone 7, no serial number

Substitute Assets. If any of the above-described forfeitable property, as a result

of any act or omission of the Defendant

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H
//

INDICTMENT / GUSTAVO -— 3

(1) |

(2)
(3)
(4)
(5)

cannot be located upon the exercise of due diligence;

has been transferred or sold to, or disposed with, a third party;
has been placed beyond the jurisdiction of the Court;

has been substantially diminished in value; or

has been commingled with other property which cannot be

-subdivided without difficulty;

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ANNETTE L. HAYES

United States Attorney

KPA (Day

S D. OESTERLE
Ssistant United States Attorney

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BENJAMIN T. DIGGS | {/ °
Special Assistant United States Attorney

 

INDICTMENT / GUSTAVO — 4

the United States of America shall be entitled to forfeiture of substitute property pursuant
to Title 21, United States Code, Section 853(p).

A TRUE BILL:
DATED: %/: Y/. 22907

Signature of Foreperson redacted pursuant
to the policy of the Judicial Conference of the
United States.

‘ FOREPERSON

UNITED STATES ATTORNEY
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